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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
TRACEY AMBEAU HANSON, et al.         )
                                     )
                  Plaintiffs,        )
                                     )
      v.                             )     Civil Action No. 09-00454 (RMU)
                                     )
DISTRICT OF COLUMBIA, et al.,        )
                                     )
                  Defendants.        )
____________________________________)

                       DEFENDANTS’ MOTION TO STAY BRIEFING

       Pursuant to Fed. R. Civ. P. 6(b)(1) and 7(b), the defendants hereby move this Honorable

Court to stay briefing in the instant matter, until resolution of defendants’ Motion to Consolidate.

Defendants’ Memorandum of Points and Authorities in support hereof is attached hereto and

incorporated by reference herein. A proposed Order also is attached hereto.

       Pursuant to LCvR 7(m), the undersigned counsel discussed the relief requested herein

with plaintiffs’ counsel, who declined to consent to such relief.

       WHEREFORE, the defendants respectfully request that this Honorable Court:

       A. Grant the defendants’ Motion to Stay Briefing, and

       B. Grant the defendants such other relief as the nature of their cause may require.


DATE: April 17, 2009                  Respectfully submitted,

                                      PETER J. NICKLES
                                      Attorney General for the District of Columbia

                                      GEORGE C. VALENTINE
                                      Deputy Attorney General, Civil Litigation Division
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                         UNITED STATES DISTRICT COURT
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TRACEY AMBEAU HANSON, et al.         )
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                  Plaintiffs,        )
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      v.                             )     Civil Action No. 09-00454 (RMU)
                                     )
DISTRICT OF COLUMBIA, et al.,        )
                                     )
                  Defendants.        )
____________________________________)

                     MEMORANDUM OF POINTS AND AUTHORITIES
                                IN SUPPORT OF
                      DEFENDANTS’ MOTION TO STAY BRIEFING

       Defendants (collectively, “the District”), by and through undersigned counsel,

respectfully submit this Memorandum of Points and Authorities in Support of their Motion To

Stay Briefing, pursuant to Fed. R. Civ. P. 6(b)(1) and 7(b). A proposed Order is attached hereto.

       In support of the instant motion, and for its good cause shown, the District states as

follows:

       1. Defendants, on March 30, 2009, filed their Motion to Consolidate the instant matter

with Heller v. District of Columbia, No. 08-01289 (RMU). Both suits challenge the use of the

“California Roster of Handguns Certified for Sale” in the Firearms Control Amendment Act of

2008, D.C. Act 17-708, as violating the Second Amendment and the holding in District of

Columbia v. Heller, ___ U.S. ___, 128 S. Ct. 2783 (2008).

       2. On April 13, 2009, plaintiffs filed their Opposition to the defendants’ motion, and

their own Motion for Summary Judgment.

       3. Pursuant to LCvR 7(b) and Fed. R. Civ. P. 6(d), the District’s response to plaintiffs’

dispositive motion is due on or before April 27, 2009.
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       4. Fed. R. Civ. P. 6(b)(1) permits an enlargement of time, such as that requested herein,

“if request therefor is made before the expiration of the period originally prescribed . . .” for

cause shown.

       5. For their good cause shown, the defendants state that staying dispositive briefing here

until the Court resolves the pending motion to consolidate will conserve the resources of the

Court and the District.

       6. The Court has broad discretion to stay proceedings. See, e.g., Air Line Pilots Ass’n v.

Miller, 523 U.S. 866, 879 n.6 (1998) (“[T]he power to stay proceedings is incidental to the

power inherent in every court to control the disposition of the causes on its docket with economy

of time and effort for itself, for counsel, and for litigants.”) (quoting Landis v. N. Am. Co., 299

U.S. 248, 254 (1936)). Such authority extends to stays sought pending a decision on a party’s

motion. E.g., Williams v. Johanns, 498 F.Supp.2d 113, 134 (D.D.C. 2007).

       7. In determining whether to grant a stay, “the court, in its sound discretion, must assess

and balance the nature and substantiality of the injustices claimed on either side.” Feld

Entertainment, Inc. v. ASPCA, 523 F.Supp.2d 1, 3 (D.D.C. 2007) (quoting Gordon v. FDIC, 427

F.2d 578, 580 (D.C. Cir. 1970)). The Court should exercise its judgment and “‘weigh [the]

competing interests’ of itself, counsel, and the litigants involved.” Barton v. District of

Columbia, 209 F.R.D. 274, 278 (D.D.C. 2002) (quoting Dellinger v. Mitchell, 442 F.2d 782, n.7

(D.C. Cir. 1971)).

       8. The defendants aver that further briefing in the instant matter should await the

decision of the Court on the pending motion to consolidate. If the Court grants the motion, a

briefing schedule will issue, and the District (and plaintiffs) will presumably have additional time

to analyze the issues and present argument. If the Court denies the motion (and establishes two




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separate briefing schedules), the District will likely need additional time to respond to the instant

plaintiffs’ pending dispositive motion, in light of the press of other litigation and the

complicated, sui generis legal issues at stake here.

       9. Plaintiffs, in their opposition to the District’s motion to consolidate, did not articulate

any actual prejudice, and mentioned “delay” as the only “benefit” the defendants hoped to gain

from that motion. P.Opp. at 4. A brief delay in obtaining one’s “day in court” is insufficient to

avoid a reasonable stay. See Feld, 523 F.Supp.2d at 4. Moreover, the public interest here would

be served by a brief stay. Id. at 4–5 (“Especially in cases of extraordinary public moment, the

individual may be required to submit to delay not immoderate in extent and not oppressive in its

consequences, if the public welfare or convenience will thereby be promoted.”) (quoting

Dellinger, 442 F.2d at 786). The public welfare would plainly be served by a brief stay (and

subsequent consolidation), to obtain a decision on the District’s pending motion, not to mention

that the District’s efforts to respond to two substantially similar lawsuits may not need to be

duplicated. The defendants aver that plaintiffs’ (and the Heller plaintiffs’) challenge to the

District’s firearms-registration law and regulations is a matter of “extraordinary public moment.”

       10. This enlargement is not sought for any improper purpose, but to conserve the

resources of the Court and the defendants. Indeed, judicial economy and efficiency would be

served by a brief stay here, because “[t]he administrative burden of managing two such suits

concurrently would not be an efficient allocation of the Court’s limited resources.” Feld, 523

F.Supp.2d at 5.

       11. The defendants respectfully request a short stay of the time to respond to plaintiffs’

dispositive motion until the Court decides the District’s pending motion to consolidate.




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       Based on the above, the defendants respectfully request that this Honorable Court enter

an order pursuant to Fed. R. Civ. P. 6(b)(1), to stay the instant matter pending a decision by the

Court on defendants’ pending motion to consolidate.


DATE: April 17, 2009                 Respectfully submitted,

                                     PETER J. NICKLES
                                     Attorney General for the District of Columbia

                                     GEORGE C. VALENTINE
                                     Deputy Attorney General, Civil Litigation Division


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